              Case 2:12-cr-00185-TLN Document 275 Filed 06/04/18 Page 1 of 2



 1 LAW OFFICES OF CHRIS COSCA
   CHRIS COSCA           (SBN 144546)
 2 1007 7th Street, Suite 210
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 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
 5

 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                              2:12-CR-0185-TLN
11                                 Plaintiff,               STIPULATION AND ORDER TO
                                                            CONTINUE JUDGMENT AND
12   v.                                                     SENTENCE
13   RYAN CHEAL,
14                                 Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for June 7, 2018, should be continued to October18, 2018, at 9:30 a.m.

19 A continuance is necessary because, while Mr. Cheal has pled guilty, a related defendant is pending

20 trial and thus Mr. Cheal has not yet completed his cooperation obligations under his plea agreement.

21
     Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and rehabilitation,
22
     and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           June 2, 2018                  /s/ Jason Hitt
                                                  JASON HITT
26                                                Assistant United States Attorney
27

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                                                        1
     USA v. Cheal, Stip and Order to Con’t J&S
             Case 2:12-cr-00185-TLN Document 275 Filed 06/04/18 Page 2 of 2



 1 DATED:          June 2, 2018                  /s/ Chris Cosca
                                                 CHRIS COSCA
 2                                               Counsel for Defendant RYAN CHEAL
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 6
                                                 ORDER
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 8 IT IS SO FOUND AND ORDERED this 4th day of June, 2018.

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12                                                        Troy L. Nunley
                                                          United States District Judge
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     USA v. Cheal, Stip and Order to Con’t J&S
